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            EXHIBIT 7
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         -
~\\Ill   Scalia Law '25 v                                                                                                        bd   X



          YoJ love to see it
           ~ 1




         -
                                                                          SEP 27, 20 24 12:46 PM

            Mr. Doe


          Hey Everyone, I am so excited to share that I am officially the Law School/Student
          Representative for GAPSA (Graduate and Professional Studies Assembly) here at George
          Mason. GAPSA reports up and down the chain of command across Mason from the Board of
          Visitors, President, etc. In my role, I will share concerns/issues law students have to GAPSA to
          work on effecuoting change and resolving the concerns students have. Please reach out to me
          here or text me -                if there are concerns you would like addressed and I will do my
                                                                                                                                          ■
          best to advocate for all of us.




         -
                                                                          SEP 27, 2024, 12.52 PM

            Mr. Doe


          I have already shared some concerns that you all have raised, including establishing Hygeine
          product disposal containers/and products in ALL restrooms, on all floors around the law school
          (regardless of gender marker/sign outside of the restroom), suicide/domestic violence
          prevention resources/signage in all restrooms.
           • 2

                                                                          SEP 27. 2024, 150 PM




+         Send Message...




                                                                                                             Exhibit 7, Page 1
                       Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 3 of 24 PageID# 94




~\\II'   Scalia Law '25 v                                                                                                           6d   X

          work on effecuating change and resolving the concerns students have. Please reach out to me
          here or text me                 if there are concerns you would like addressed and I will do my
          best to advocate for all of us.




         -
                                                                            SEP 27, 2024, 1252 PM

             Mr. Doe


          I have already shared some concerns that you oil have raised, including establishing Hygeine
          product disposal containers/and products in ALL restrooms, on oil floors around the law school
          (regardless of gender marker/sign outside of the restroom), suicide/domestic violence
          prevent ion resources/signage in all restrooms.
           • 2
                                                                                                                                             ■




         -
                                                                            SEP 27, 2024, 1:50 PM




          T ampons in the men's bathroom is on unnecessary expense and political totem that many
          people at this school d isagree with. Many of us do not want to pay for this type of thing with our
          tuition.
         (El


           ~ 22
          Filling ..


+         Send Message...




                                                                                                                Exhibit 7, Page 2
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t:ll~ Scalia Law '25 v                                                                                                         bd   X


                                                                            SEP 27, 2024, 1:50 PM




      Tampons in the men's bathroom is an unnecessary expense and political totem t hat many
      people at this school disagree with. Many of us do not want to pay for this type of thing with our
      tuition.

      ~


     -I would personally love water bottle filing stations on every floor
      $, 22




     -
      Filling ..                                                                                                                        I
          Mr. Doe


      I'll make note of your thoughts,-         Do also recognize that I did not suggest or hint that
      student tuition would pay for anything in my previous messages or when I presented those
      concerns in our meeting. Thanks.


     I! ! ! !nally love water bottle filing stations on every floor
      Noted! I will add to the list and pass this along for sure and see what can be done.
       ~ 3

                                                                            SEP 27, 2024, 1:58 PM




+     Send Message...




                                                                                                           Exhibit 7, Page 3
                          Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 5 of 24 PageID# 96




t:(i!a~   Scalia Law '25 v                                                                                                       6d   X




          -
           Filling ..

                Mr. Doe


           I'll make note of your thoughts, -        Do also recognize that I did not suggest or hint that
           student tuition would pay for anything in my previous messages or when I presented those
           concerns in our meeting. Thanks.


          I ~                  ally love water bottle f iling stations on every floor
           Noted! I will add to the list and pass this along for sure and see what can be done.
            ~ 3

                                                                                    SEP 27 2024, 1:58 PM


           Selene Cerankosky
                                                                                                                                          I
           With the advocacy for female products in the male restrooms, you are expressing that male
           bathrooms will welcome female occupants and female bathrooms will welcome male
           occupants. I speak for myself and many other women when I say that we will feel considerably
           uncomfortable if there are males using private women's spaces on campus. Do also recognize
           the concerns of biological female students. Thanks'
          (0


          -A s a more general matter, many of us do not want biological women in men's bathrooms and
           vice verse. This is a moral and safety issue for many people. So putting tampon dispensers in
           men's bathrooms isn't just about the fiscal burden. It represents a top-down cultural and
           behavioral change at Scalia many of its students do not endorse. Please make sure these


+          Send Message...




                                                                                                             Exhibit 7, Page 4
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~~1?11 Scalia Law '25 v                                                                                                              bcl   X
      ~




      As a more general matter, many of us do not want biological women in men's bathrooms and
      vice verse. This is a moral and safety issue for many people. So putting tampon d ispensers in
      men's bathrooms isn't just about the fiscal burden. It represents a top-down cultural and
      behavioral change at Scalia many of its students do not endorse. Please make sure these
      voices are heard during any discussion with administration, so as not to discourage or exclude
      students with conservative values.

      ~

      I also think it's silly that there's only water bottle filling stations every other floor. I'm with.   n
      that one                                                                                                                                 ■
       ~ 11




     -
                                                                               SEP 27, 2024, 2:06 PM




      Yet a finnish company makes tampons for males... newsflash people women aren't t he only
      ones who have periods as there is also a population of biological males who get them due to
      different medical conditions and not all trans men choose to take hormone replacement
      therapy and they can still have periods even if they do take it. No one's saying that just anyone
      will be able to walk into the opposite gender's restroom, but they should be able to have the
      products they need in the restroom of the gender they identify with, the restroom they use.
      Without peeking under the stall you'd have little way of knowing exactly what parts anyone has,
      and if your doinq that then there's a biqqer problem than just a transqendered person usinq a


+     Send Message...                                                                                                                      Q




                                                                                                                 Exhibit 7, Page 5
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t:<i\\>R   Scalia Law '25 v                                                                                                                   6d   X




           -
                                                                                    :::,tt-' L'f, :.::'U:.!4, L:Ub 1-'M




            Yet a finnish company makes tampons for males... newsflash people women aren't the only
            ones who have periods as there is also a population of biological males who get them due to
            different medical conditions and not all trans men choose to take hormone replacement
            therapy and they can still have periods even if they do take it. No one's saying that just anyone
            will be able to walk into the opposite gender's restroom, but they should be able to have the
            products t hey need in the restroom of the gender they identify with, the restroom they use.
            Without peeking under the stall you'd have little way of knowing exactly what parts anyone has,
            and if your doing t hat then there's a bigger problem than just a transgendered person using a
            restroom that is gender-affirming for them.
             ~ 4

                                                                                                                                                       ■
              Mr. Doe




             I also think it's silly that there's only water bottle filling stations every other floor. I'm
             with ■on that one
            I will do my best. Keep in m ind I'm a m iddle "person" but will advocate as best as I am able to. I
            am unsure how the piping and waterlines are logistically connected but I will certainly bring
            these concerns forward.




+
           -I personally could care less what restroom someone uses due to their own gender identity, and
            i don't see the horm in having basic products in both rest rooms. It reduces a lot of stigma


            Send Message...                                                                                                                        Q




                                                                                                                          Exhibit 7, Page 6
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~ ,13!1   Scalia Law '25 v                                                                                                                        6d   X




          -                 uld care less what restroom someone uses due to their own gender identity, and
           i don't see t he harm in having basic products in both rest rooms. It reduces a lot of st igma
           surrounding those issues.
            ~ 5



          ::a             as trying to explain, con servative students have as m uch a right to be represented
           at this school as anyone else. If you want to change the bathroom policy, we have the right to
           argue for it remaining as it is. And the fact is, women can tell if a biological man is in the room
           with them at a vulnerable time and I don't want that to happen to me or any other women
            ¥ 2    ~ 2
                                                                                                                                                           ■


           I think the idea of having hygiene products available in all restrooms is to offer a solution to
           those who might be male-present ing but still menstruating (like ~                       as noted). This way, if
           they needed a tampon, they wouldn't not have to go to the women's restroom.
           ~ 11




            I think the idea of having hygiene products available in all restrooms is to offer a
            solution to those who might be male-presenting but still menstruating (like                   lllll!lias
            nntarl) Th ie u1n\l if thA\I n,:uo.rlArl n tnmnf'ln tha\/ v.1r,1 , trln't nnt hn\lP. t" nn tn thP. 1A1nmAn'c




+          Send Message...                                                                                                                             Q




                                                                                                                              Exhibit 7, Page 7
                    Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 9 of 24 PageID# 100




r:<il\!R Scalia Law '25 v                                                                                                     bcl   X

      they needed a tampon, t hey wouldn't not have to go to the women's restroom.
       !:,. 11




        I think the idea of having hygiene products available in all restrooms is to offer a
        solution to those who might be male-presenting but still menstruating (like -        has
        noted). This way, if they needed a tampon, they wouldn't not have to go to the women's
        restroom.
       Exactly, that's all i'm trying to point out
       !:-. 2

       Selene Cerankosky
      I fail to understand how Hazel Hall will allow biological females into male restrooms to access                                   ■
      period products as "trans men," while not also allowing "just any" biological male to walk into a
      female restroom. Having a double standard such as that would be a fast discrimination issue.
      Women have been gaslit in recent years about how our allowance for males to occupy our
      vulnerable spaces will not attract arbitrary entries, but it certainly has. Women have a right to
      feel safe in spaces where they disrobe.

      ~

      -· muted'




+      Send Message...




                                                                                                          Exhibit 7, Page 8
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ti!~ Scalia Law '25 v                                                                                                           6d   X
:-;.:;•




          -  Mr. Doe


          Let's not jump to unnecessary conclusions. I am in no way implying and signaling t hat all
          bathrooms would become gender neutral, though anatomically speaking I don't think it's
          anyone else's business what gender someone identifies with, as, or if they identify with any at
          all.
           ~ 3


          Maria Arcara

           Selene Ceronkosky
           I fail to understand how Hazel Hall will allow biological females into male restrooms to
           access period products as "trans men," while not also allowing "just any" biological
                                                                                                                                         ■
           male to walk into a female restroom. Having a double standard such as that would be
           a fast discriminat ion issue. Women have been gas lit in recent years about how our
           allowance for males to occupy our vulnerable spaces will not attract arbitrary entries,
           but it certainly has. Women have a right to feel safe in spaces where they disrobe.
          I agree with Selene. It never stops at tampons in a male restroom
           ~ 4




               Mr. Doe




                                                                                                            Exhibit 7, Page 9
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    t:l.i\l'~   Scalia Law '25 v                                                                                                           6'd X




I
    69
                  -
                 Selene C erankosky
                     Mr. Doe


                  Let's not jump to unnecessary conclusions. I am in no way implying and signaling that
                  all bathrooms would become gender neutral, though anatomically speaking I don't
                  think it's anyone else's business what gender someone identifies with, as, or if they
                  identi fy with any at all.
                                   Mr. Doe
                 Respectfully, -             as women, it is absolutely our business if a male enters our bathroom.
                  ~3@

                 They could technically use it right now because there's no law or policy preventing it We aren't
                 saying change anything, we are just saying that there's no harm in having products in those
                 restrooms for the people t hat might need them.
                                                                                                                                                   ■
                  ~ 1


                 Selene C erankosky
                 If any female students encounter a male in their restroom, please do not hesitate to let me
                 know I will ensure something is said about it and hopefully changed.
                  ~ 2@


                -W hat if we just offer hygiene products in a neutral non-bathroom area so anyone could access
                 them at any time?
                 ~ 16


    +            Send Message...                                                                                                             Q




                                                                                                                      Exhibit 7, Page 10
                   Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 12 of 24 PageID# 103




14~~ Scalia Law '25 v




     -
                                                                                                                             6d   X



     W hat if we just offer hygiene products in a neutral non-bathroom area so anyone could access
     them at any time?




     -
      ::S. 16



      N ow that's a lawyer response right there!




     -
      ~ 6

         Mr. Doe


     I am simply sharing concerns that we're brought up by several of our fellcw classmates.
     Providing a health disposal box or a resource/hea lth necessity item that is often overlooked or
     too expensive for individuals, in a rest room does not imply that what you perceive a "man" or
     "woman" will be using bot h rest rooms.
                                                                                                                                      ■
                                                                         SEP 27, 2024, 2:17 PM




       What if we just offer hygiene products in a neutral non-bathroom area so anyone




.._
       could access them at any time?
     They do offer t hem in the gender neutral bathroom on one of the f loors [ciru]
       ::-,. 1

        Mr. Doe




+     Send Message...                                                                                                             Q




                                                                                                        Exhibit 7, Page 11
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r:<il\!R Scalia Law '25 v                                                                                          bcl   X

          What if we just offer hygiene products in a neut ral non-bathroom area so anyone
      I   could access them at any time?
      They do offer t hem in the gender neutral bathroom on one of the floors [061]
        ~ 1

          Mr. Doe




          What if we just offer hygiene products in a neut ral non-bathroom area so anyone
          could access them at any time?
       I will certainly pass this along, as a proposed addition to the law school building.
        ~ 1




                                                                                                                             ■




+      Send Message...




                                                                                              Exhibit 7, Page 12
                  Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 14 of 24 PageID# 105




ti!~ Scalia Law '25 v                                                                                                  6d   X




                                                                                                                                ■




     -
      ~ 22

        Mr. Doe


     T he law school does not have a single gender neutral restroom-they are only on the SC HAR
     side of campus.




+     Send Message...




                                                                                                  Exhibit 7, Page 13
                       Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 15 of 24 PageID# 106




\~~ Scalia Law '25 v                                                                                                          bd   X




     -
      ::,.. 22

        Mr. Doe


     T he law school does not have a single gender neutral restroom-they are only on the SC HAR
     side of campus.



           Mr. Doe

       The law school does not have a single gender neutral restroom- they are only on the
       SC HAR side of campus.
                 Mr. Doe




     -
     Sor~                  es that's what I'm referring to!



     W hat if upper middle class adults brought their own tampons to school and we didn't install
     vending mach ines under the pretext of a "public health accommodation" in order to ramrod
     partisan political issues into public institutions?                                                                               ■
     @
       Mr. Doe




       If any female students encounter a male in their rest room, please do not hesitate to
       let me know. I will ensure something is said about it and hopefully changed.
     Respectfully, Selene how are you planning to identify a "male" in the bathroom? Does the
     individual need to have a shaved head, have or not have certain anatomy, not wear makeup,
     dress a certain way, or fit a systemic stereotype of a "male"? Your perception of one's gender is


+    Send Message...




                                                                                                         Exhibit 7, Page 14
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~\llll   Scalia Law '25 v                                                                                                                                                    6d   X

            Mr. Doe



            Selene Cerankosky

            If any female students encounter a mole in their rest room, please do not hesitate to
            let me know. I will ensure somet hing is said about it and hopefully changed.
          Respectfully, Selene how ore you planning to identify a "mole" in the bathroom? Does the
          individual need to hove a shoved head, hove or not hove certain anatomy, not wear makeup,
          dress a certain way, or fit a systemic stereotype of a "mole"? Your perception of one's gender is
          just that... a perception, and does not define someone else's gender identity for them.
           W2




            What if upper middle class adults brought their own tampons to school and we didn't
            install vending machines under the pretext of a "public health accommodation" in
            order to ramrod partisan political issues into public institutions?                                                                                                       ■
          Speak for yourself :) Not all of us ore upper middle class
           ~ 4

            Mr. Doe




            What if upper middle class adults brought their own tampons to school and we didn't
            install vending machines under the pretext of a "public health accommodation" in
            order to ramrod partisan political issues into public institutions?
          T h ie::: \Mnc:::dt nnlit irnl It wnc::: c:::imnh, m,o. c:::hnrinn c:::t11rlPnfc::: rnnri=>rnc::: nnrl inrn::i.nc::::.inn nrri=>c:::c::: tn



+         Send Message...                                                                                                                                                         Q




                                                                                                                                                        Exhibit 7, Page 15
                       Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 17 of 24 PageID# 108




-
'4~ Scalia Law '25 v


         What if upper middle c lass adults brought thei' own tampons to school and we didn't
         install vending machines under the pretext of a "public health accommodation" in
         order to ramrod partisan political issues into public institutions?
     This wasn't political. It was simply me sharing students concerns and increasing access to
                                                                                                                                     bi) X




     health care products. How one uses those products is only that person's business.


G    Si i ikosky
           Mr. Doe


         Respectfully, Selene how are you planning to identify a "male" in the bathroom? Does
         the ind ividual need to have a shaved head, have or not have certain anatomy, not
         wear makeup, dress a certa in way, or fit a systemic stereotype of a "male"? Your
         perception of one's gender is just that... a perception, and does not define someone
         else's gender identity for them.
     The premise that I cannot tell if someone is a male is one that does not deserve the dignity of a
     response. How ridiculous.
                                                                                                                                             ■
     ®

     -
                   ~ 1



     It won't be hard for Selene to recognize the man who comes into the women's room. There's
     only one man on campus that would do it and she knows exactly what he looks like
         g 3

         Mr. Doe


     -               n aside, pads for example, are used for more than one purpose. I apologize if this isn't



+    Send Message...




                                                                                                                Exhibit 7, Page 16
                     Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 18 of 24 PageID# 109




         Scalia Law '25 v




         -
i:li~Q
                                                                                                                                       6d   X



          It won't be hard for Selene to recognize the man who comes into the women's room. There's
          only one man on campus that would do it and she knows exactly what he looks like




         -
           Q3

           Mr. Doe


          A nd as on aside, pods for example, are used for more than one purpose. I apologize if this isn't




         -
          well known, but figured it worth ment ioning.



          Just to clarify, as this conversation has gotten into a lot of personal beliefs, are we all okay with
          there still being tampons in the women's bathrooms? Because even as someone that con
          afford to bring tampons to school, sometimes you just need that access at the last minute
          !;-. 13

          Selene Cerankosky                                                                                                                     ■

           Just to clarify, as this conversation has gotten into a lot of personal beliefs, are we all
           okay with t here still being tampons in the women's bathrooms? Because even as
           someone that can afford to bring tampons to school, sometimes you just need that
           access at the last m inute
          Absolutely.

          ~


+         Send Message...                                                                                                                   Q




                                                                                                                  Exhibit 7, Page 17
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~\llll   Scalia Law '25 v                                                                                                          6d   X



          Selene Cerankosky



           Just to clarify, as this conversation has gotten into a lot of personal beliefs, are we all
           okay with t here still being tampons in the women's bathrooms? Because even as
           someone that can afford to bring tampons to school, sometimes you just need that
           access at the last minute
          Absolutely.

          ~

             Mr. Doe


           -           •t political. It was simply me sharing students concerns and increasing
            access to health care products. How one uses those products is only that person's
             business.
                                                                                                                                            ■
          It's 1,000% the public's business whether males or femoles use the opposite sex's public
          bathrooms, and of course, tampon machines in a men's bathroom is our business. Both as
          users, taxpayers, and tuition payers.

          You can try to sanitize the morality and politics of your proposal by calling it a "public health
          issue." This is a lie. Everyone knows it is not.
          @


-
+         Send Message...                                                                                                               Q




                                                                                                              Exhibit 7, Page 18
                Case 1:24-cv-01950 Document 1-7 Filed 11/01/24 Page 20 of 24 PageID# 111




~~~ Scalia Law '25 v                                                                                                                6d   X


     You con try to sanitize the morality and politics of your proposal by calling it a "public health
     issue." This is a lie. Everyone knows it is not.
     @


      Just to clarify, as this conversation has gotten into a lot of personal beliefs, are we all
      okay with there still being tampons in the women's bathrooms? Because even as
      someone that can afford to bring tampons to school, sometimes you just need that
      access at the last m inute
     i can't believe we're even having to ask t his question? ummm 31ol at gmu!
      ~ 1




     -
                           hos joined the group


                                                                                                                                             ■
     O h one suggestion for something I'd like to see. The water filters are rarely changed for the
     water stations. I watched last time where the guy putting it in didn't change anything and just
     reset the light. Filters for the water stations would be great1 It tastes like I'm drinking from a pool
     otherwise.




+    Send Message...




                                                                                                               Exhibit 7, Page 19
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~\\IR   Scalia Law '25 v                                                                                                              6d   X




                                                                            SEP27, 2024, 234 PM




         On a similar note, I'd also love to be able to buy plastic water bottles on days when I forget m ine.
         The school currently only sells cons of water which I don't like as they ore single use only And
         water tastes bad out of a con.
          ~ 4    • 1




                                                                                                                                               ■




        -
        I Wait, ore plastic water bottles not a lso single use?

+        Send Message...




                                                                                                                 Exhibit 7, Page 20
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I{~   Scalia Law '25 v                                                                                                               bi) X




          I   Wait, are plastic water bottles not also single use?
          You can definitely refill a plastic water bottle. Much harder to refill a can. A metal water bottle
          would also be refillable but still would taste bad

lo    -                  hasjoinedthegroup




               Mr. Doe




              Oh one suggestion for something I'd like to see. The water filters are rarely changed
              for t he water stations. I watched last time where the guy putting it in didn't change
              anything and just reset the light. Filters for the water stations would be great' It tastes
              like I'm drinking from a pool otherwise.
                                                                                                                                             ■
          That's disgusting and I will add that
           • 2       !:-,. 2


•

      -
wo                                           dded-    o the group




          I Selene Ceronkosky
+         Send Message...                                                                                                               Q




                                                                                                                Exhibit 7, Page 21
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\~~ Scalia Law '25 v                                                                                                    bd   X

                                dded-         o the group.




      I fail to understand how Hazel Hall will allow biological females into male restrooms to
      access period products as "trans men," while not also allowing "just any" biological
      mole to walk into a female restroom. Having o double standard such as that would be
      o fast discrimination issue. Women hove been gaslit in recent years about how our
      allowance for males to occupy our vulnerable spaces will not attract arbitrary entries,
      but it certain ly has. Women have a right to feel safe in spaces where they disrobe.
     Exactly
      ~ 2      • 1

        Mr. Doe




      It's 1,000% the public's business whether males or females use the opposite sex's
      public bathrooms, and of course, tampon machines in a men's bathroom is our                                                ■
      business. Both as users, taxpayers, and tuition payers.

      You can try to sanitize the morality and politics of your proposal by calling it a "public
      health issue." This is a lie. Everyone knows it is not
     What makes you assume you woul~         that cost? Taxpayers? Tampon machine? No
     one is personally sending you a bill- -
      ~2       fl 1


+    Send Message...




                                                                                                   Exhibit 7, Page 22
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~~~ Scalia Law '25 v



-
                                                                                                                           bil   X
        Mr. Doe




       It's 1,000% the public's business whether males or females use the opposite sex's
       public bathrooms, and of course, tampon machines in a men's bathroom is our
       business. Both as users, taxpayers, and tuition payers.

       You can try to sanitize the morality and politics of your proposal by calling it a "public
       health issue." This is a lie. Everyone knows it is not.
     What makes you assume you would be bearing that cost? Taxpayers? Tampon machine? No
     one is personally sending you a bill -
      :?-- 2      111




     -
                                                                         SEP 27 2024, 3.19 PM




     p eople will complain about 10 cent tampons but not the billions we send to kill kids overseas
      ::,._ 5




     -
                                                                         SEP 27, 2024, 3-26 PM                                       ■
        Mr. Doe


     FLASH SALE: $6/tickets for Pride on the Plaza, through the end of this weekend (Sunday at
     11:59pm) only!! https://www.zeffy.com/ticketing/25f1c3c5-84cc-4628-93d6-7c3333f9160f •




+    Send Message...                                                                                                             Q




                                                                                                      Exhibit 7, Page 23
